                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                      ___________________

                                          No: 24-1275
                                      ___________________

                                         Tayvin Galanakis

                                               Plaintiff - Appellee

                                                 v.

                                       City of Newton, Iowa

                                              Defendant - Appellant

                                            Rob Burdess

                                                      Defendant

Nathan Winters; Christopher Wing, individually and in their official capacities with the Newton
                                    Police Department

                                   Defendants - Appellants
______________________________________________________________________________

         Appeal from U.S. District Court for the Southern District of Iowa - Central
                                   (4:23-cv-00044-SHL)
______________________________________________________________________________

                                           JUDGMENT


Before COLLOTON, Chief Judge, BENTON, and KELLY, Circuit Judges.


       This appeal from the United States District Court was submitted on the record of the

district court, briefs of the parties and was argued by counsel.

       After consideration, it is hereby ordered and adjudged that the judgment of the district

court as to Tayvin Galanakis's Fourth Amendment claim is affirmed, and otherwise defendants'

appeal is dismissed in accordance with the opinion of this Court.

                                                        April 17, 2025


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Order Entered in Accordance with Opinion:
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Susan E. Bindler




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